       Case
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

United States of America,     )
                              )
             Plaintiff,       )           ORDER RE COUNSEL
                              )
       vs.                    )
                              )
Tessa Dawn Fox,               )           Case No. 1:20-cr-68
                              )
             Defendant.       )
______________________________________________________________________________

        Defendant made her initial appearance and was arraigned on June 8, 2020. The court

appointed attorney Justin Vinje to represent defendant and directed defendant to submit a financial

affidavit.

        Having reviewed a financial affidavit completed by defendant, the court finds defendant

possesses the financial resources to retain counsel. Accordingly, the court amends its order

appointing attorney Justin Vinje as follows. Attorney Justin Vinje’s appointment shall be for the

limited purpose of defendant’s initial appearance and arraignment. Defendant shall contribute to

the cost of his representation. Consequently, the court authorizes and directs that funds be paid by

defendant to the Clerk, U.S. District Court, P.O. Box 1193, Bismarck, ND 58502 as follows:

$125.00 shall be paid to the Clerk’s office by August 1, 2020.

        Defendant is strongly encouraged to retain counsel. Whomever defendant retains should

promptly file a notice of appearance on defendant’s behalf. Defendant shall submit a report to the

court by August 1, 2020, updating it on the status of her representation.

        IT IS SO ORDERED.

        Dated this 16th day of June, 20

                                              /s/ Clare R. Hochhalter
                                              Clare R. Hochhalter, Magistrate Judge
                                              United States District Court
